                                                                                                   。
                                                                                                   c・
                                                                                        s歴 路 理 ヽ

                          UNITED STATES DISTRICT COURT FOR THE                        MAY 0 4 2016
                          WESTERNR:習                  AROLNA                            じ          鰹
                                                                                                        雨
                                                                                         、躍 器
                                            糠 毬 柵

UNITED STATES OF AMERICA                          )        DOCKET NO.1:16 CR           56
                                                       )
    V.                                             )        ORDER
                                                       )
l)YUMARKUA ROOSEVELT LITTLEJOHN                       )
2)RICHARD LEE FELDER                                   )
                                                       )

                                                       )




         UPONヽ 10TION of the United Statcs of America,by and through Jill Westmoreland Rose,
United States Attomey for the Wcstem District Of North Carolina, for an order directing that the

lndictinent and Arrcst Warrants in thc above―   captiOned casc be unscaled;and

         IT APPEARING TO THE COURT that therc no 10nger cxists any dangcr to the attendant

investigation in this case;


         NOW,THEMFO駆          ,IT IS ORDEMD that thc lndictment and Arrest Warrants in the

abovc― captioncd case be unscaled.


         This Ktt day Of May,2016.




                                                U.S.MAGISTRATE COURT JUDGE
                                                WESTERN DISTRICT OF NORTH CAROLINA




     Case 1:16-cr-00056-MR-WCM             Document 7         Filed 05/04/16     Page 1 of 1
